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                        4
                          Entered on Docket
                   5February 08, 2022
                ___________________________________________________________________
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                                  Receivable Fund, LP
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                      17                                IN THE UNITED STATES BANKRUPTCY COURT
                                                              FOR THE DISTRICT OF NEVADA
                      18
                                  In re:                                                      Case No.: 21-14486-abl
                      19                                                                      Chapter 7
                                  INFINITY CAPITAL MANAGEMENT, INC.
                      20                          Debtor.
                                                                                              Date: February 22, 2022
                      21                                                                      Time: 10:00 A.M.
                      22
                                             NOTICE OF HEARING AND ORDER SHORTENING TIME ON
                      23                   MOTION TO ALLOW AMENDMENT OF DECLARATION [ECF NO. 59]

                      24                   On February 4, 2022, party in interest Tecumseh–Infinity Medical Receivable Fund, LP,

                      25      (“Tecumseh”), by and through its counsel, Garman Turner Gordon LLP and Akerman LLP, filed

                      26      the Motion to Allow Amendment of Declaration [ECF No. 59] (“Motion”).1

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                                  All capitalized terms used herein shall have the meaning set forth in the Motion unless otherwise stated.
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
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                        1                 In the Motion, Debtor requests the Court enter an order, substantially in the form attached

                        2     thereto as Exhibit C, allowing Tecumseh to amend Exhibits A and B to the Declaration in Support

                        3     of Motion of Party in Interest Tecumseh-Infinity Medical Receivables Fund, LP to (1) Abandon

                        4     Property and (2) Lift the Automatic Stay of Chad Meyer [ECF No. 59].

                        5                 The Court, having considered the Ex Parte Application for Order Shortening Time to Hear

                        6     Motion to Allow Amendment of Declaration [ECF No. 59] and good cause appearing therefore,

                        7                 IT IS HEREBY ORDERED and notice is hereby given that the Motion shall be heard by

                        8                                                                           10    00 __.m.
                                                                       22 day of February, 2022, at ____:____
                              a United States Bankruptcy Judge on the ____                                    a    Copies

                        9     of the above-referenced Motion and any supporting declaration and exhibits are on file with the

                      10      clerk of the United States Bankruptcy Court for the District of Nevada, Foley Building, 300 Las

                      11      Vegas Blvd. South, Las Vegas, Nevada 89101, or may be obtained by emailing Gabrielle A.

                      12      Hamm, Esq. at the email address listed above.

                      13                  IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time shall

                      14                      2 days of entry; that any oppositions to the Motion must be filed and served by
                              be done within ___

                      15      February 22, 2022
                              ____________________; that any replies to any oppositions must be filed and served by

                      16       February 22, 2022
                              ____________________; and that this hearing may be continued from time to time without further

                      17      notice except for the announcement of any adjourned dates and times at the above noticed hearing

                      18      or any adjournment thereof.

                      19                  IT IS SO ORDERED.

                      20      Prepared and submitted:

                      21      GARMAN TURNER GORDON LLP

                      22      By: /s/ Gabrielle A. Hamm
                                  GERALD M. GORDON, ESQ.
                      23
                                  WILLIAM M. NOALL, ESQ.
                      24          GABRIELLE A. HAMM, ESQ.
                                  7251 Amigo St., Suite 210
                      25          Las Vegas, Nevada 89119
                      26      4893-9955-8156, v. 1


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